                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT WINCHESTER

 UNITED STATES OF AMERICA,                       )
                                                 )
                Plaintiff,                       )
                                                 )
 v.                                              )               Case No. 4:13-cr-11-HSM-SKL
                                                 )
 MICHAEL O. BROWN.,                              )
                                                 )
                Defendant.                       )

                              REPORT & RECOMMENDATION

        Before the Court is the Motion to Suppress the Fruit of the Wiretap Dated April 5, 2012

 and Request for Evidentiary Hearing [Doc. 512] filed by Defendant Michael O. Brown

 (“Defendant”). The motion was referred for a report and recommendation pursuant to 28 U.S.C.

 § 636(b) [Doc. 521]. Plaintiff United States of America (“the government”) has filed a response

 in opposition [Doc. 523].    Defendant did not file a reply brief and the motion is now ripe.

 After considering the four corners of the wiretap application, including the “Authorization for

 Interception Order Application” dated April 3, 2012 [Doc. 523-1] (“Authorization”) and the

 “Affidavit in Support of Application” signed by Task Force Officer Daniel Warren on April 5,

 2012 (“Affidavit”) [Doc. 526-1], 1 and the parties’ arguments, I RECOMMEND that

 Defendant’s motion be DENIED.

 I.     BACKGROUND

        The issue at hand centers on a wiretap issued by United States District Judge Harry S.


 1
    The copy of the Affidavit originally filed [523-2] was not complete. After the Court brought
 this deficiency to the parties’ attention, the government subsequently filed a supplement [Doc.
 526] with the complete Affidavit [Doc. 526-1]. The Affidavit filed the second time bears an
 exhibit stamp, but otherwise appears to be a correct copy of the Affidavit submitted in support of
 the wiretap application and order at issue. See Case No. 1-12-mc-14, filed in this case as Doc.
 531.


Case 4:13-cr-00011-TRM-SKL          Document 534 Filed 10/24/14             Page 1 of 9     PageID
                                          #: 1801
Case 4:13-cr-00011-TRM-SKL   Document 534 Filed 10/24/14   Page 2 of 9   PageID
                                   #: 1802
 necessary or why he was requesting a hearing. Local Rule 7.1(b) requires all briefs to include “a

 concise statement of the factual and legal grounds which justify the ruling sought by the Court.”

 E.D. Tenn. L.R. 7.1(b); see also Fed. R. Civ. P. 7(b) (requiring motions to “state with particularity

 the grounds for seeking the order”).       Arguments not raised and supported in more than a

 perfunctory manner are deemed waived. McPherson v. Kelsey, 125 F.3d 989, 995-96 (6th Cir.

 1997) (noting that conclusory claims of error without further argument or authority are considered

 waived). Defendant does not provide any legal grounds, argument, or citation to any authority,

 case, or rule in support of his request for a hearing.

        If Defendant is seeking a hearing pursuant to Franks v. Delaware, 438 U.S. 154 (1978),

 commonly referred to as a Franks hearing, then Defendant must make a dual showing, which he

 utterly failed to make. First, the defendant must “make[ ] a substantial preliminary showing that a

 false statement knowingly and intentionally, or with reckless disregard for the truth, was included

 by the affiant in the warrant affidavit . . . .” Id. at 155-56. Second, the offending information

 must be “necessary to the finding of probable cause;” if the offending information is excluded and

 probable cause still remains, a Franks hearing is not required. Id. at 156. Defendant has not

 submitted declarations or other proof to contradict the information included in the Affidavit and

 Authorization used to obtain the wiretap or made any offer of proof.

        As Defendant neither specifically requested a Franks hearing, nor cited to Franks or any

 other case law supporting his position that a hearing should be held, I cannot determine a valid

 reason why a hearing would be proper when the issue of authorization and necessity should be

 determined from the four corners of the Authorization and Affidavit submitted in connection with

 the wiretap application. See United States v. Dyer, 580 F.3d 386, 390 (6th Cir. 2009) (stating that




                                                3
Case 4:13-cr-00011-TRM-SKL            Document 534 Filed 10/24/14             Page 3 of 9      PageID
                                            #: 1803
 court’s review is “limited to examining the information contained in the four corners of the

 affidavit”).

         Therefore, Defendant’s request for a hearing is DENIED.

         B.     Affidavit

         Defendant claims the Affidavit does not sufficiently demonstrate the officers exhausted

 conventional alternatives to a wiretap and, thus, there is no showing of necessity for the wiretap.

 Defendant cites to a single case, United States v. Rice, 478 F.3d 704 (6th Cir. 2007), but only for

 the proposition that the remedy for failing to meet the necessity requirements of Title III and the

 Fourth Amendment is suppression. It appears Defendant’s argument is summed up by his

 statement that “[i]n paragraphs 29-42, the affiant fails to state completely why conventional

 techniques have failed or are not likely to succeed or are to [sic] dangerous[]” [Doc. 512 at Page ID

 # 1442].

         The Sixth Circuit has held “[t]he basic standards for a wiretap are similar to those for a

 search warrant, but there also must be strict compliance with Title III of the Omnibus Crime

 Control and Safe Streets Act of 1968, 18 U.S.C. §§ 2510-2520.” United States v. Alfano, 838

 F.2d 158, 161 (6th Cir. 1988). Title III “was enacted for the purpose of regularizing and

 controlling the issuance of warrants for wiretaps.” Id. In pertinent part, Title III “requires a

 determination that other means of obtaining information, such as physical surveillance, use of

 informants, and other investigative techniques, would be unsuccessful.” Id. at 163 (citing 18

 U.S.C. § 2518(1)(c)). This requirement “is referred to as the ‘necessity requirement.’” Rice, 478

 F.3d at 710 (quoting United States v. Stewart, 306 F.3d 295, 304 (6th Cir. 2002)). “The needs

 statement provision was placed in the statute to ensure that a wiretap ‘is not resorted to in

 situations where traditional investigative techniques would suffice to expose the crime.’” Alfano,




                                               4
Case 4:13-cr-00011-TRM-SKL           Document 534 Filed 10/24/14              Page 4 of 9      PageID
                                           #: 1804
 838 F.2d at 163 (quoting United States v. Kahn, 415 U.S. 143, 153 n.12 (1974)). “Thus, wiretaps

 are not to be used thoughtlessly or in a dragnet fashion . . . . [W]hat is needed is to show that

 wiretaps are not being ‘routinely employed as the initial step in criminal investigation.’” Id.

 (quoting United States v. Landmesser, 553 F.2d 17, 20 (6th Cir. 1977)).

        The necessity requirement also “protects against the impermissible use of a wiretap as the

 ‘initial step in [a] criminal investigation.’” Rice, 478 F.3d at 710 (quoting Giordano, 416 U.S. at

 515). There is no requirement, however, that the “government . . . prove that every other

 conceivable method has been tried and failed or that all avenues of investigation have been

 exhausted.” Alfano, 838 F.2d at 163 (citing United States v. Brown, 761 F.2d 1272, 1275 (9th Cir.

 1985)). Rather, as the Sixth Circuit has stated:

                All that is required is that the investigators give serious
                consideration to the non-wiretap techniques prior to applying for
                wiretap authority and that the court be informed of the reasons for
                the investigators’ belief that such non-wiretap techniques have been
                or will likely be inadequate. While the prior experience of
                investigative officers is indeed relevant in determining whether other
                investigative procedures are unlikely to succeed if tried, a purely
                conclusory affidavit unrelated to the instant case and not showing
                any factual relations to the circumstances at hand would be . . .
                inadequate compliance with the statute.

 Rice, 478 F.3d at 710 (citations omitted). The Sixth Circuit has held the “necessity requirement”

 in Title III “do[es] not require proof of the absolute impossibility of all other means. Instead, a

 reasonable statement of the consideration or use of other investigative means is adequate . . . .”

 Alfano, 838 F.2d at 164.

        “Because the necessity requirement is a component of Title III, and because suppression is

 the appropriate remedy for a violation under Title III, where a warrant application does not meet

 the necessity requirement, the fruits of any evidence obtained through that warrant must be

 suppressed.” Rice, 478 F.3d at 710. However, “a wiretap authorization order is presumed



                                               5
Case 4:13-cr-00011-TRM-SKL           Document 534 Filed 10/24/14             Page 5 of 9     PageID
                                           #: 1805
 proper, and a defendant carries the burden of overcoming this presumption.” United States v.

 Quintana, 70 F.3d 1167, 1169 (10th Cir. 1995); see also United States v. Feldman, 606 F.2d 673,

 679 n.11 (6th Cir. 1979) (“It is well settled that in seeking suppression of evidence the burden of

 proof is upon the defendant to display a violation of some constitutional or statutory right

 justifying suppression.”).

        As argued by the government, the Affidavit explains a wire interception is needed because

 co-defendant Hadley would not sell large quantities of controlled substances to anyone but his

 trusted few co-defendants and, thus, law enforcement was unable to determine the size of the

 organization and identify the potential sources [Doc. 523]. The Affidavit lists several other

 investigative techniques and describes how successful or unsuccessful many were or were thought

 to be [Doc. 526-1, ¶¶ 14-22, 29-41]. Included in this verbatim list were: physical surveillance;

 use of vehicle trackers; use of Grand Jury subpoenas; interview of subjects or associates; search

 warrants; infiltration by undercover officers; use of cooperating individuals; purchase of cocaine

 by undercover officers or cooperating witnesses; review of telephone records, pen registers, and

 trap and trace results; pole cameras; trash pulls; financial record searches; and mail covers [Doc.

 526-1, ¶ 29]. The Affidavit then addressed the use and results of physical surveillance [Doc.

 526-1, ¶ ¶ 30-31]. While the agents were able to do some surveillance in the area where the drug

 deals were occurring, the Affidavit also noted that undercover law enforcement vehicles are easily

 spotted and gave a specific example where such surveillance was detected [Doc. 526-1, ¶ 30].

 The Affidavit also sets out that vehicle tracking devices would be unsuccessful because the main

 target was known to use a variety of vehicles, making it impossible to know which car he would

 use on a particular day [Doc. 526-1, ¶ 33]. The Affidavit explains why the affiant thought grand

 jury subpoenas would not be successful [Doc. 526-1, ¶ 34]. The Affidavit sets forth the efforts




                                               6
Case 4:13-cr-00011-TRM-SKL           Document 534 Filed 10/24/14            Page 6 of 9      PageID
                                           #: 1806
 made to gather information, and the reasons why interviews of subjects and associates as well as

 the potential use of search warrants were deemed insufficient [Doc. 526-1, ¶¶ 35-38]. The

 Affidavit describes that the suspicions of the organization prevented any significant use of

 confidential informants, undercover agents, or the purchase of drugs in controlled buys [Doc.

 526-1, ¶¶ 26, 39-42]. The Affidavit also discusses the limited information derived from the use of

 telephone records, pole cameras, and trash pulls as well as the risks or futility of continued use of

 such efforts [Doc. 526-1, ¶¶ 39-46]. Lastly, the affidavit sets out the measures used by law

 enforcement to conduct a mostly unsuccessful financial investigation and the reasons why “mail

 covers” were not considered viable [Doc. 526-1, ¶¶ 47-48].

        In this case, the Affidavit was sufficiently detailed and included both more generalized

 statements about drug trafficking organizations made based on the training and experience of the

 affiant and specifics about the investigation of an alleged drug conspiracy. The Affidavit explains

 the affiant’s view as to the need for the interception, the evidence expected to be obtained through

 the use of the wiretaps, and the alternative investigative techniques utilized and/or considered,

 along with the reasons why each had been or would be inadequate in this case. The mere fact that

 the investigators in this case had already attained some level of understanding as to the workings of

 the target organization did not preclude them from seeking and successfully obtaining the

 authorization for the wiretap at issue. The level of detail and amount of evidence provided in the

 Affidavit shows that law enforcement had either used or given serious consideration to other

 investigative techniques. As the government argues, officers are not required to exhaust all

 possible methods of investigation prior to seeking a wiretap, and the Affidavit demonstrates the

 wiretap was not being “routinely employed as the initial step in criminal investigation.”

 Giordano, 416 U.S. at 515.




                                               7
Case 4:13-cr-00011-TRM-SKL           Document 534 Filed 10/24/14              Page 7 of 9      PageID
                                           #: 1807
        Contrary to Defendant’s mostly unsupported protest to the contrary, sufficient information

 is set forth in the Affidavit to comply with the necessity requirement as it shows the investigators

 gave serious consideration to other investigative techniques before applying for the wiretap.

 Further the affiant explained that certain non-wiretap investigative methods, including such tactics

 as physical surveillance and the use of confidential informants had produced inadequate results.

 Accordingly, I FIND the Affidavit sufficiently established the necessity of a wiretap, as the

 reasonable non-wiretap investigative techniques used were inadequate, and other techniques were

 not reasonably likely to succeed or were too risky. Therefore, I RECOMMEND that the Court

 DENY Defendant’s motion to suppress on this ground.

        C. Authorization

        Under Title III, 18 U.S.C. § 2516 (1), the application for a wiretap must be authorized by a

 senior executive branch official. Section 2518(1)(a) provides that each application for a court

 order authorizing or approving the interception of a wire or oral communication shall include,

 among other information, “the identity of the . . . officer authorizing the application.” Similarly, §

 2518(4)(d) provides that the order of authorization or approval itself shall specify, in part, “the

 identity of . . . the person authorizing the application.” The Authorization itself states that an

 appropriate person authorized the application and the application identifies the authorizing

 official. Defendant has made no argument that the Authorization was not actually approved by a

 statutorily approved official as claimed in the Authorization itself.

        Even if there was some technical defect in the Authorization, in the wake of United States

 v. Giordano, 416 U.S. 505 (1974) and United States v. Chavez, 416 U.S. 562 (1974), the Sixth

 Circuit held suppression is not required when a wiretap application or order fails to identify the

 approving “official at all, so long as the record shows that a statutorily designated official actually




                                                8
Case 4:13-cr-00011-TRM-SKL            Document 534 Filed 10/24/14              Page 8 of 9      PageID
                                            #: 1808
 gave the authorization.” United States v. Gray, 521 F. 3d 514, 526-27 (6th Cir. 2008) (citing inter

 alia, United States v. Callum, 410 F.3d 571, 576 (9th Cir. 2005) (failure to identify any approving

 DOJ official in wiretap order deemed “minor insufficiency for which suppression is not the

 appropriate remedy,” where issuing judge was presented with written DOJ authorization for

 wiretap before signing order); United States v. Radcliff, 331 F.3d 1153, 1160-63 (10th Cir. 2003)

 and United States v. Fudge, 325 F.3d 910, 918 (7th Cir. 2003) (where applications were in fact

 approved by specially designated DOJ officials, failure in wiretap orders to name individuals who

 authorized application was merely a “technical defect” that did not require suppression)).

        Therefore, I also RECOMMEND that the Court DENY Defendant’s motion to suppress

 on this ground.

 III.   CONCLUSION

        For the reasons stated above, I RECOMMEND 2 that Defendant’s motion to suppress

 [Doc. 512] be DENIED.



                                              s/Susan K. Lee
                                              SUSAN K. LEE
                                              UNITED STATES MAGISTRATE JUDGE




 2
   Any objections to this report and recommendation must be served and filed within 14 days after
 service of a copy of this recommended disposition on the objecting party. Such objections must
 conform to the requirements of Rule 59(b) of the Federal Rules of Criminal Procedure. Failure to
 file objections within the time specified waives the right to appeal the district court’s order.
 Thomas v. Arn, 474 U.S. 140, 149 n.7 (1985). The district court need not provide de novo review
 where objections to this report and recommendation are frivolous, conclusive, or general. Mira v.
 Marshall, 806 F.2d 636, 637 (6th Cir. 1986). Only specific objections are reserved for appellate
 review. Smith v. Detroit Fed’n of Teachers, 829 F.2d 1370, 1373 (6th Cir. 1987).


                                               9
Case 4:13-cr-00011-TRM-SKL           Document 534 Filed 10/24/14            Page 9 of 9       PageID
                                           #: 1809
